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                             16                               UNITED STATES BANKRUPTCY COURT
                                                              NORTHERN DISTRICT OF CALIFORNIA
                             17                                    SAN FRANCISCO DIVISION

                             18   In re:                                              Bankruptcy Case
                                                                                      No. 19-30088 (DM)
                             19   PG&E CORPORATION,
                                                                                      Chapter 11
                             20            - and -                                    (Lead Case)
                                                                                      (Jointly Administered)
                             21   PACIFIC GAS AND ELECTRIC
                                  COMPANY,                                            Related Docket Nos. 2741 and 3147
                             22                       Debtors.
                                                                                      DEBTORS’ SUPPLEMENTAL STATEMENT
                             23    Affects PG&E Corporation                          AND PLAN OF REORGANIZATION
                                   Affects Pacific Gas and Electric Company          TIMELINE IN SUPPORT OF OPPOSITION
                             24    Affects both Debtors                              TO MOTIONS TO TERMINATE
                             25                                                       EXCLUSIVITY
                                  * All papers shall be filed in the Lead Case, No.
                                  19-30088 (DM).
                             26

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                             1                   PG&E Corporation (“PG&E Corp.”) and Pacific Gas and Electric Company

                             2    (the “Utility”), as debtors and debtors in possession (collectively, “PG&E” or the “Debtors”) in the

                             3    above-captioned chapter 11 cases (the “Chapter 11 Cases”), hereby submit this supplemental statement

                             4    and plan of reorganization timeline in further support of the Debtors’ opposition to (a) the Motion of the

                             5    Ad Hoc Committee of Senior Unsecured Noteholders to Terminate the Debtors’ Exclusive Periods

                             6    Pursuant to Section 1121(d)(1) of the Bankruptcy Code [Docket No. 2741] (the “Ad Hoc Noteholder

                             7    Termination Motion”), filed by the Ad Hoc Committee of Senior Unsecured Noteholders (the “Ad Hoc

                             8    Noteholder Committee”), and (b) the Motion of the Ad Hoc Group of Subrogation Claim Holders to

                             9    Terminate the Debtors’ Exclusive Periods Pursuant to Section 1121(d)(1) of the Bankruptcy Code
                             10   [Docket No. 3147] (the “Subrogation Termination Motion” and, together with the Ad Hoc Noteholder
                             11   Termination Motion, the “Exclusivity Termination Motions”), filed by the Ad Hoc Group of
                             12   Subrogation Claim Holders (the “Subrogation Group”).
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                             1                                      SUPPLEMENTAL STATEMENT

                             2                   As the Debtors have stated in each of their oppositions to the Exclusivity Termination

                             3    Motions, the Debtors, as fiduciaries for all economic stakeholders in these Chapter 11 Cases, are

                             4    uniquely positioned to retain the exclusive right to file a plan given (a) the complexities of these cases,

                             5    (b) the need to determine the Debtors’ wildfire liabilities either consensually or through an estimation

                             6    proceeding, (c) the regulatory framework and approvals involved, and (d) the obvious parochial interests

                             7    being pursued by both the Ad Hoc Noteholder Committee and the Subrogation Group in their chapter

                             8    11 plan proposals. Notably, the primary features of each of those plan proposals are “consensual”

                             9    agreements with only their own constituencies, and rather transparent attempts to acquire the equity of
                             10   the reorganized Debtors at substantial discounts. These are only some of the patent deficiencies of these
                             11   plan proposals.
                             12                  Moreover, again as noted in the Debtors’ opposition pleadings, the Debtors are deeply
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                             13   involved in the process of refining a chapter 11 plan that will fully address all of the recent legislative
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                             14   enactments and ensure that the Debtors timely emerge from chapter 11 by the June 30, 2020 legislative

                             15   deadline. A proposed timeline for the Debtors’ plan process is annexed hereto as Exhibit A, which

                             16   contemplates the Debtors’ plan being filed by September 9, 2019. As stated, that plan will encompass,

                             17   among other things:

                             18                      •   payment in full or reinstatement of all prepetition funded debt obligations;
                             19                      •   payment in full of all prepetition trade claims and employee-related claims;
                             20                      •   payment of post-petition interest on all unsecured prepetition claims;
                             21                      •   satisfaction of all prepetition wildfire claims in amounts agreed upon or as
                                                         otherwise authorized or allowed by this Court, fully consistent with the terms of
                             22                          the new legislation – AB-1054;

                             23                      •   rate neutrality for the Debtors’ 16 million customers;
                             24                      •   the assumption of all power purchase agreements and community choice
                                                         aggregation servicing agreements;
                             25
                                                     •   the assumption of all pension obligations and other employee obligations;
                             26
                                                     •   the assumption of all collective bargaining agreements;
                             27
                                                     •   participation in the go-forward wildfire fund provided in the newly-enacted
                             28                          legislation; and

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                             1                       •   emergence financing supported by a substantial infusion of cash raised from
                                                         existing equity holders on market terms or in the capital markets if available on
                             2                           better terms, plus equity financed securitized bonds, if available.

                             3                   In connection with the formulation and development of the Debtors’ plan, the Debtors

                             4    have been engaged in ongoing dialogue with Jones Day, on behalf of Knighthead Capital Management,

                             5    LLC and Abrams Capital Management, LP, with respect to securing the equity emergence financing

                             6    referred to in the last bullet above to implement the plan and for the Debtors to successfully and timely

                             7    emerge from chapter 11 to ensure that the Debtors can participate in the go-forward wildfire fund.

                             8                   As stated at the hearing before the Court this past Friday, August 9, 2019, and as widely

                             9    reported in the newspapers and other publications, in connection with the Debtors’ plan, the Debtors

                             10   have received commitments from more than twenty (20) financial institutions for billions in equity

                             11   capital to fund the Debtors’ plan (the “Equity Commitment”). As of the time of filing this pleading,

                             12   the Equity Commitments aggregate approximately $[10.25] billion and the Debtors expect that this will
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                             13   increase significantly over the next several days based on discussions with a number of large capital
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                             14   providers. 1 The Equity Commitment is premised on a plan incorporating the Debtors’ plan provisions

                             15   set forth above and includes the following additional features:

                             16                      •   it values the equity of the reorganized Debtors at multiples of the values per share
                                                         proposed in the Ad Hoc Noteholder Plan Term Sheet;
                             17
                                                     •   it does not disadvantage one group of financial stakeholders to benefit another
                             18                          such group; and

                             19                      •   it provides the Debtors with the flexibility to access more efficient sources of
                                                         capital for the payment of wildfire and other claims and return the Debtors to a
                             20                          more traditional position in the capital markets.

                             21   A copy of one of the Equity Commitment letters is annexed hereto as Exhibit B, and the other Equity

                             22   Commitment letters received by the Debtors to date are substantially identical (with of course different

                             23
                                  1
                             24     In addition, over the last several months, the Debtors have been engaged with several money center
                                  banks, all of which have provided assurances that the Debtors have ample access to deep pools of both
                             25   debt and equity capital in order to finance their successful emergence from chapter 11. Several of
                                  those financial institutions have expressed high levels of confidence in their abilities to raise at least
                             26   between $35 billion and $40 billion of both debt and equity capital to satisfy claims, refinance
                                  indebtedness, and address other bankruptcy related and post-emergence uses, as needed. Taken
                             27   together, the indications of interest thus far received from various financing sources clearly
                                  demonstrate there is abundant capital available on favorable terms to finance the Debtors’ emergence
                             28   from chapter 11.

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                             1    individual committed amounts aggregating the $[10.25] billion referred to above).

                             2                   And, notably, this funding proposal, without even having been further negotiated by the

                             3    Debtors, is substantially superior to what has been proposed by the Ad Hoc Noteholders. Simply by

                             4    way of example, the Equity Commitment proposes a floor share price of in excess of $17.00 per share

                             5    as compared to the approximate $6.00 or less per share price implied by various commitment levels of

                             6    the Ad Hoc Noteholder plan proposal.           Further, as indicated above, in addition to the Equity

                             7    Commitment, the Debtors’ ongoing discussions with third party financing sources plainly demonstrate

                             8    that there is robust interest among traditional utility investors that would easily enable the Debtors to

                             9    raise debt and equity capital on terms far more advantageous than those provided in the Ad Hoc
                             10   Noteholder plan proposal to fund and implement the Debtors’ plan.
                             11                  Moreover, to dispel the repeated allegations of the Ad Hoc Noteholders Committee that
                             12   the Equity Commitment is conditioned on the passage of additional legislation in Sacramento (and
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                             13   despite the persistent efforts by members of the Ad Hoc Noteholders Committee to undermine that
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                             14   legislation) – no such condition exists. Of course, from the standpoint of the reorganized Debtors and
                             15   all other parties in interest, such legislation would be beneficial because it would facilitate the ability to
                             16   raise capital to satisfy the claims of wildfire victims and other creditors in the most efficient and lowest
                             17   cost manner, which provides increased flexibility in achieving a timely plan that pays victims in
                             18   accordance with AB-1054. But, as stated, the Equity Commitment is not conditioned on the passage of
                             19   any further legislation.
                             20                  Consistent with their fiduciary duties to all economic stakeholders in these Chapter 11
                             21   Cases, the Debtors are in the process of further engaging with the representatives of the equity holders
                             22   to refine and improve upon what they have already offered – a proposal that much more fairly values the
                             23   Debtors’ business enterprise – to attempt to develop a mutually acceptable chapter 11 plan that will
                             24   expedite fair and equitable distributions to holders of wildfire claims and all other parties in interest.
                             25   This effort will include providing the Debtors with the appropriate flexibility to consider higher or better
                             26   financing offers when there is more clarity as to the precise funding needs for a chapter 11 plan, because,
                             27   as the Debtors have noted and as all parties recognize, any chapter 11 plan funding proposal will be
                             28

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                             1    conditioned on the consensual resolution or estimation by the Court of the Debtors’ wildfire liability.

                             2                                      THE DEBTORS’ PLAN TIMELINE

                             3                   In view of the foregoing and these recent developments, the Debtors believe it is even

                             4    more important to maintain the Exclusive Periods in effect. The Debtors are the appropriate parties to

                             5    be the steward of the chapter 11 process, particularly where creditors are to be paid in full and the Debtors

                             6    in a plan will take into account and properly address the legitimate interests of all stakeholders. This

                             7    will maximize and, indeed, ensure achievement of the June 30, 2020 legislative deadline and obviate the

                             8    concerns raised by the CPUC in dealing with the complex and extensive regulatory approval process.

                             9                   In furtherance of this goal, the Debtors have prepared the annexed timeline (Exhibit A)
                             10   for the chapter 11 plan process in the context of maintaining the Exclusive Periods. It sets forth a realistic

                             11   and achievable path forward and, importantly, a timeline that will enable the Debtors to timely emerge

                             12   and participate in the go-forward wildfire fund.
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                             13                  [Signature page follows]
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                             1                   Under the circumstances of these Chapter 11 Cases, their current posture and, in

                             2    particular, the need to crystallize the Debtors’ wildfire liability as a gating item to any confirmable plan,

                             3    the Debtors submit that the Exclusive Periods should remain in effect.

                             4

                             5    Dated: August 12, 2019
                                                                                         WEIL, GOTSHAL & MANGES LLP
                             6
                                                                                         KELLER & BENVENUTTI LLP
                             7

                             8                                                           By: /s/ Stephen Karotkin
                             9                                                                  Stephen Karotkin

                             10                                                          Attorneys for Debtors
                                                                                         and Debtors in Possession
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